Case 3:21-cr-00149-DJH Document 36 Filed 04/28/22 Page 1 of 3 PagelD #: 209

FILED
US DISTRICT COURT CLER?
WESTERN DISTRICT OF KRY
THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF KENTUCKY @2APR28 AMI: 07

AT LOUISVILLE

UNITED STATES OF AMERICA PLAINTIFF

Criminal Case No.: 3:21-CR-149-DJH

TIMOTHY ROUTON DEFENDANT

AGREED ORDER OF RESTITUTION
Defendant, Timothy Routon, having pleaded guilty, the parties having agreed on
restitution, and this Court being sufficiently advised;
IT IS HEREBY ORDERED as follows:
1. The Defendant is sentenced and ordered to pay restitution in the amount of $60,000.
2 Restitution is due in the shortest time period possible, and not withstanding any
other provision of this Restitution Order, the United States may enforce restitution at any time.
3. If incarcerated, and the Defendant participates in the Bureau of Prisons’ Inmate
Financial Responsibility Program, payments shall be made in accordance with the terms of the
program. If restitution is not paid in full and if the Defendant is not incarcerated or following any
term of incarceration, Defendant shall make restitution payments of not less than the amount of
the Defendant’s “non-exempt disposable earnings,” as that term is defined in 28 U.S.C. § 3002(9).
Defendant will be added to the Treasury Offset Program.
4, Interest shall not accrue as provided in 18 U.S.C. § 3612(f) and is hereby waived.

5. The victims’ names, addresses, and total losses are as follows:
Case 3:21-cr-00149-DJH Document 36 Filed 04/28/22 Page 2 of 3 PagelD #: 210

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

VICTIM ADDRESS AMOUNT OF
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TOTAL AMOUNT $60,000
6. The amount of restitution paid to any victim shall not exceed the victim’s total loss

from the offense of conviction.

 
Case 3:21-cr-00149-DJH Document 36 Filed 04/28/22 Page 3 of 3 PagelD #: 211

¥ All payments must be made to the United States District Court Clerk, Gene Snyder
Courthouse, 601 West Broadway, First Floor, Louisville, KY 40202.

8. As long as the Defendant owes restitution, the Defendant shall notify, within 30
days, the Clerk of the Court and the United States Attorney’s Office, Financial Litigation Unit,
717 W. Broadway, Louisville, KY, 40202, of: (a) any change of name, residence, or mailing
address; and/or (b) any material change in economic circumstances.

9. This Restitution Order is pursuant to 18 U.S.C. § 3664 and shall be incorporated

Oe)

     
  

into the Judgment and Conviction as if set out verbati

4 eN
Judge, United Stajos’ District Court

Having seen and agreed to by:

MICHAEL A. BENNETT
United States Attorney
By:

Stephanie M. Zimdahl
Stephanie M. Zimdahl
Assistant United States Attorney

William M . Butler, Jr. (with permission)
William M. Butler, Jr.
Counsel for Defendant

 

 

cc:

United States Probation
Louisville, Kentucky

Financial Clerk
United States District Court Clerk
